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     DENNIS FUGNETTI PHOTOGRAPHY TRUST
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 8
 9                    UNITED STATES DISTRICT COURT
                     CENTRAL DISTRICT OF CALIFORNIA
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     DENNIS FUGNETTI PHOTOGRAPHY Case No.: 8:19-cv-00847-SK
11   TRUST,
                                      NOTICE OF
12                      Plaintiff,    ACKNOWLEDGEMENT AND
      v.                              SATISFACTION OF JUDGMENT
13                                    AGAINST BIRD B GONE, LLC
     BIRD B GONE, LLC; and DOES 1-10,
14   inclusive,
15                         Defendant.
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            NOTICE OF ACKNOWLEDGEMENT AND SATISFACTION
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 2         On December 14, 2022, the Court entered Judgment On The Verdict for
 3   Plaintiff (Dkt. #230), awarding judgment in favor of the Dennis Fugnetti
 4   Photography Trust and against Bird B Gone, LLC in the amount of $1,175,420.18.
 5         By reason of the settlement between the parties, it is hereby acknowledged,
 6   and the Clerk of the Court is authorized and directed to make an entry of the full and
 7   complete satisfaction of the above-referenced judgment on the docket.
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 9   DATED: March 29, 2023,                       Respectfully submitted,
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                                                  /s/ Ryan E. Carreon
11                                                Ryan E. Carreon, Esq.
                                                  Cal. Bar No. 311668
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                                                  Counsel for Plaintiff
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              NOTICE OF ACKNOWLEDGEMENT AND SATISFACTION
